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                        Department of Treasury-IRS
                        IRS
                        PO Box 7346
                        Philadelphia, PA 19101


                        Aarons
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                        Ashland, VA 23005


                        Advance America
                        7029 Mechanicsville Tnpk
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                        Boston, MA 02284-3356


                        Aylett Med CTR-A Dept of MRMC
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